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                    UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

                        CASE NO.: 8:20-cv-02675-MSS-CPT

 MEDICAL & CHIROPRACTIC
 CLINIC, INC. a Florida
 corporation, individually, and as
 the representative of a class of
 similarly situated persons,


           Plaintiff,

 v.

 HARMONY UNITED
 HEALTHCARE AND RESEARCH,
 P.A., a Florida corporation, and
 HARMONY UNITED
 MEDSOLUTIONS, LLC, a Florida
 limited liability company,

         Defendant.
 _______________________/

          JOINT NOTICE OF SETTLEMENT AND REQUEST FOR
                   ADMINISTRATIVE DISMISSAL

      Plaintiff, Medical & Chiropractic Clinic, Inc., and Defendants, Harmony

United Healthcare and Research, P.A., and Harmony United Medsolutions,

LLC, (the “Parties”), by and through their undersigned counsel, hereby notify

the Court that the Parties have reached a settlement in the above-captioned

matter.
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      The parties are in the process of finalizing the terms of a settlement and

respectfully request that this Court enter an administrative dismissal to allow

the Parties one hundred eighty (180) days to complete the settlement, during

which time the Parties request this Court retain jurisdiction over this matter

until fully resolved. The Parties anticipate that a joint stipulation to voluntary

dismissal with prejudice will be filed within one hundred eighty (180) days.



      Dated this 5th day of January 2022.

 /s/ Ryan M. Kelly                          /s/ Ernest H. Kohlmyer, III
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                                            Facsimile (407) 622-1884
                                            Attorneys for Defendants




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                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been filed on

January 5, 2022, via the Court Clerk’s CM/ECF system which will provide

notice to the following attorneys of record: Ryan M. Kelly, Esquire of Anderson

& Wanca at rkelly@andersonwanca.com (Attorneys for Plaintiff).



                                          /s/ Ernest H. Kohlmyer, III
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